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     In the United States Court of Federal Claims
                               Case No. 10-248C
                           (Filed: February 3, 2011)


*****************************************************
PAUL RAFFAELE,                                      *
                    Plaintiff,                      *
                                                    *
       v.                                           *
                                                    *
THE UNITED STATES OF AMERICA,                       *
                    Defendant.                      *
                                                    *
*****************************************************


                                     ORDER

       Pursuant to the Plaintiff’s Notice of Dismissal Without Prejudice
filed February 1, 2011, and this Court’s Rule 41(a)(1), the Clerk is directed
to dismiss the Complaint without prejudice. Parties are to bear their
own costs.

      IT IS SO ORDERED.


                                        s/ Lawrence M. Baskir
                                       LAWRENCE M. BASKIR
                                               Judge
